                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           WESTERN DISTRICT OF MISSOURI
                                WESTERN DIVISION


UNITED STATES OF AMERICA                       )
                                               )
                        Plaintiff,             )
                                               )
v.                                             )               13-00405-01-CR-W-GAF
                                               )
RASHAWN LONG                                   )
                                               )
                        Defendant.             )

                             MOTION TO DISMISS FOR LACK OF
                             SUBJECT MATTER JURISDICTION

        Defendant, Rashawn Long, moves to dismiss the indictment pursuant to Rule 12(b)(3)(b)

of the Federal Rules of Criminal Procedure.

        This motion is made on the following grounds:

        1.       Defendant was charged and subsequently found guilty by a jury of illegally

possessing 5.67 grams of 2-(Methylamino)-1-phenyl-1-butanone on October 26, 2013. At the

time of the alleged possession this substance or its positional isomers were not listed as Schedule

I controlled substances. Therefore, the substance did not fall within the definition of 18 U.S.C. §

802.

        2.       The Court is without jurisdiction because the offense, if any, is cognizable only in

the Western District of Missouri if the possession would have continued through March 7, 2014,

or occurred after March 7, 2014, which it did not. The offense, if any, occurred on October 26,

2013.

        3.       The indictment does not state facts sufficient to constitute an offense against the

United States of America. As it pertains to the drug possession, the indictment reads:


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       “On or about October 26, 2013 in the Western District of Missouri, and elsewhere, the

defendant RASHAWN LONG, did knowingly and intentionally possess with the intent to

distribute a mixture and substance containing a detectable amount of 2-(Methylamino)-1-phenly-

1-butanone, a Schedule I controlled substance contrary to the provision of Title 21, United

States Code, Sections 841(a)(1), (b)(1)(C).”

       4.       The statute is plain and concise about the activities that are prohibited. §

841(a)(1) reads:

       “(a) Unlawful acts. Except as authorized by this title, it shall be unlawful for any person

knowingly or intentionally –

       (1) to manufacture, distribute, or dispense, or possess with intent to manufacture,

distribute, or dispense, a controlled substance;”

       5.       For the purposes of Title 21 U.S.C. § 841 the definition reads:

       “(6) The term “controlled substance” means a drug or other substance, or immediate

precursor, included in schedule I, II, III, IV, or V of part B of this title [21 USCS § 812]. The

term does not include distilled spirits, wine, malt beverages, or tobacco, as those terms are

defined or used in subtitle E of the Internal Revenue Code of 1954 [26 USCS § 5001 et seq.].”

       6.       This definition would require that this particular drug, substance, or immediate

precursor be specifically listed as a Schedule I substance either by statute or regulation. This is

not the case at the time of the alleged possession.

       7.       The substance was not specifically listed as a Schedule I controlled substance at

the time of the allegations on October 26, 2013. The compounds contained in this particular

substance could have only been possibly covered by the Controlled Substance Act (CSA) as an




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isomer. In particular, as an “optical isomer”. This excludes the inclusion of position and

geometric isomers.

       8.       “Optical isomers, so termed because they rotate a beam of polarized light, are the

mirror image of each other.” United States v. Ammar, 714 F.2d 238 (1983).

       9.       The definition’s limitation of isomers to that of only the optical isomer creates a

clear threshold for the government’s burden of proof. By excluding other forms of isomers, such

as geometric and position isomers, the list of possible substances is decreased to those with the

exact same compounds and properties. Those compounds cannot be rearranged, otherwise they

become position isomers.

       10.      The statute and regulation has positional isomer defined as:

               “(2) As used in § 1308.11(d) of this chapter, the term ‘positional isomer’
       means any substance possessing the same molecular formula and core
       structure and have the same functional group(s) and/or substituent(s) as those
       found in the respective Schedule I hallucinogen, attached at any position(s) on
       the core structure, but in such manner that no new chemical functionalities are
       created and no existing chemical functionalities are destroyed relative to the
       respective Schedule I hallucinogen. Rearrangements of alkyl moieties within or
       between functional group(s) or substituent(s), or divisions or combinations of
       alkyl moieties, that do not create new chemical functionalities or destroy exiting
       chemical functionalities, are allowed i.e., result in compounds which are
       positional isomers. For purposes of this definition, the ‘core structure’ is the
       parent molecule that is the common basis for the class; for example, tryptamine,
       phenthylamine, or egoline. Examples of rearrangements resulting in creation
       and/or destruction of chemical functionalities (and therefore resulting in
       compounds which are not positional isomers) include, but are not limited to:
       Ethoxy to alpha-hydroxyethly, hydroxyl and methyl to methoxy, or the
       repositioning of a phenolic or alcoholic hydroxyl group to create a
       hydroxylamine. Examples of rearrangement resulting in compounds which
       would be positional isomers include: Tert –butyl to sec –butyl, methoxy and
       ethyl to isopropoxy, N, N-diethyl to N-methyl-N-propyl, or alpha-methylamino
       to N-methylamino.”

       11.      Unless specifically stated otherwise, the term “isomer” only refers to the “optical

isomer” which is basically an exact copy of the compound’s makeup with no chemical changes



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or rearrangements. Compounds and their respective isomers are routinely examined closely in

patent cases.

       “Isomer means:

                (1) The optical isomer, except as used in § 1308.11(d) and § 1308.12(b)(4) of

this chapter. As used in § 1308.11(d) of this chapter, the term “isomer” means any optical,

positional, or geometric isomer. As used in § 1308.12(b)(4) of this chapter, the term “isomer”

means any optical or geometric isomer;”

       12.      There are several ways a substance or isomer(s) can be listed as a Schedule I

controlled substance. However, none of the substances or isomer(s) specifically listed the

substance in question until March 7, 2014.

       13.      This substance is not listed in the list of Schedule I controlled substances as

detailed in Title 21 U.S.C. § 812. It is, however, covered in the Code of Federal Regulations list

of Schedule I controlled substances as a possible isomer because it has common compounds of

other listed controlled substances. This amended listing was made pursuant to Federal Register

Vol. 76, No. 204 under the statutory authority of 21 U.S.C. § 811(h). The amended list was not

made effective until March 7, 2014. Although notice of intent was likely made sooner, the law

does not cover notices of intent. The law only covers published regulations and rulings. The

published ruling and the subsequent amended regulations both occurred after the alleged

possession. “An agency that exercises its discretion to propose a rule has no duty to promulgate

its proposal as a final rule. Accordingly, proposed regulations have no legal effect.” United

States v. Springer, 354 F.3d 772 (2004).

       The agency ruling reads in part:

              “Section 201 of the CSA, 21 U.S.C. § 811, provides the Attorney General
       with the authority to temporarily place a substance into schedule I of the CSA for

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       two years without regard to the requirements of 21 U.S.C. § 811(b) if he finds
       that such action is necessary to avoid imminent hazard to public safety. 21 U.S.C.
       § 811(h). In addition, if proceedings to control a substance are initiated under 21
       U.S.C. § 811(a)(1), the Attorney General may extend the temporary scheduling
       for up to one year. 21 U.S.C. § 811(h)(2).
               Where the necessary finding are, a substance may be temporarily
       scheduled if it is not listed in any other schedule under section 202 of the
       CSA, 21 U.S.C. § 812, or if there is no exemption or approval in effect for the
       substance under section 505 of the Federal Food, Drug, and Cosmetic Act
       (FDCA), 21 U.S.C. § 355. 21 U.S.C. § 811(h)(1); 21 CFR part 1308. The
       Attorney General has delegated his authority under 21 U.S.C. § 811 to the
       Administrator of the DEA, who in turn has delegated her authority to the Deputy
       Administrated of the DEA. 28 CFR0.100, 0.104, Appendix to Subpart R of Part
       0, Sec. 12.”

       14.     The clear language of the ruling and statute provide for prospective application of

the decision. Emergency scheduling under § 811(h)(2) has no retrospective application by

statute and therefore has no retroactive authority. The statute reads:

               “(h) Temporary scheduling to avoid imminent hazards to public safety.
               (1) If the Attorney General finds that the scheduling of a substance in
       schedule I on a temporary basis is necessary to avoid an imminent hazard to the
       public safety, he may, by order and without regard to the requirements of
       subsection (b) relating to the Secretary of Health and Human Services, schedule
       such substance in schedule I if the substance is not listed in any other schedule in
       section 202 [21 USCS § 812] or if no exemption or approval is in effect for the
       substance under section 505 of the Federal Food, Drug, and Cosmetic Act [21
       USCS § 355]. Such an order may not be issued before the expiration of thirty
       days from—
               (A) the date of the publication by the Attorney General of a notice in
       the Federal Register of the intention to issue such order and the grounds upon
       which such order is to be issued, and
               (B) the date the Attorney General has transmitted the notice required by
       paragraph (4).
               (2) The scheduling of a substance under this subsection shall expire at
       the end of two years from the date of the issuance of the order scheduling
       such substance, except that the Attorney General may, during the pendency
       of proceedings under subsection (a)(1) with respect to the substance, extend
       the temporary scheduling for up to 1 year.
               (3) When issuing an order under paragraph (1), the Attorney General shall
       be required to consider, with respect to the finding of an imminent hazard to the
       public safety, only those factors set forth in paragraphs (4), (5), and (6) of
       subsection (c), including actual abuse, diversion from legitimate channels, and
       clandestine importation, manufacture, or distribution.

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               (4) The Attorney General shall transmit notice of an order proposed to be
       issued under paragraph (1) to the Secretary of Health and Human Services. In
       issuing an order under paragraph (1), the Attorney General shall take into
       consideration any comments submitted by the Secretary in response to a notice
       transmitted pursuant to this paragraph.
               (5) An order issued under paragraph (1) with respect to a substance shall
       be vacated upon the conclusion of a subsequent rulemaking proceeding initiated
       under subsection (a) with respect to such substance.
               (6) An order issued under paragraph (1) is not subject to judicial review.”

       15.     The Eighth Circuit requires an examination of the substance and its scheduling.

“Where a determination made in an administrative proceeding is to play a critical role in the

subsequent imposition of a criminal sanction, there must be some meaningful review of the

administrative proceeding.” United States v. Springer, 354 F.3d 772 (2004).

       16.     Ex post facto clause bars the indictment and prosecution of the substance

possession because the timing of the prosecution “changes the legal consequences of acts

committed before the provision’s effective date,” and “it is the effect, not the form, of the law

that determines whether it is ex post facto … therefore the change causes the precise effect the ex

post facto clause is designated to guard against.” United States v. Bell, 991 F.2d 1445 (1993).

       17.     The scienter element of possession would require a defendant to knowingly

possess the substance and know that it is in fact the compound listed in the indictment and not

just similar to some other compound that is potentially covered in the CSA.

       18.     If 2-methylamino is in fact an isomer it still does not fit the criteria for inclusion

as a Schedule I controlled substance except under the term “positional isomer”. As a standard

isomer it is excluded from consideration except under compound stimulants. 2-methylamino is

only included in any of the Schedule I stimulants as a positional isomer and is only barred as it

pertains to the amended list of substances that went into effect on March 7, 2014.




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       19.     While it is not completely clear what comprehensive list of compounds constitute

an isomer, it is clear that the substance in question does not meet the set of requirements to be

considered a Schedule I controlled substance.

       20.     The list of substances added to Schedule I that include 2-(methylamino) pursuant

to § 1308.11(h) are Butylone, Pentedrone, 4-fluoro-N-methylcathinone, and 3-fluoro-N-

methylcathinone.

       Section 1308.11(h) reads:

                “(h) Temporary listing of substances subject to emergency scheduling.
       Any material, compound, mixture or preparation which contains any quantity of
       the following substances:
                …(22) Butylone, its optical, positional, and geometric isomers, salts and
       salts of isomers – 7541 (Other names: bk-MBDB; 1-(1,3-benzodioxol-5-yl)-2-
       (methylamino) butan-1-one)
                (23) Pentedrone, its optical, positional, and geometric isomers, salts and
       salts of isomers –1246 (Other names: alpha-methylaminovalerophenone; 2-
       (methylamino)-1-phenylpentan-1-one)
                (24) Pentylone, its optical, positional, and geometric isomers, salts and
       salts of isomers --7542 (Other names: bk-MBDP; 1-(1,3-benzodioxol-5-yl)-2-
       (methylamino) pentan-1-one)
                (25) 4-fluoro-N-methylcathinone, its optical, positional, and geometric
       isomers, salts and salts of isomers –1238 (Other names: 4-FMC; flephedrone; 1-
       (4-flourophenyl)-2-(methylamino) propan-1-one)
                (26) 3-fluoro-N-methylcathinone, its optical, positional, and geometric
       isomers, salts and salts of isomers – 1233 (Other names: 3-FMC; 1-(3-
       fluorophenyl)-2-(methylamino) propan-1-one).

                                             CONCLUSION

       Positional isomers, such as 2-(methylamino), are only covered under the CSA under the

provisions of 21 C.F.R. § 1308.11(d) and (h). At the time of the alleged possession, 2-

(methylamino) was not covered. It did not become included until March 7, 2014 which was

more than four months later. That means that the substance alleged, does not fall within Federal

jurisdiction as it pertains to this indictment. It would only be covered if the agency’s ruling were

applied retrospectively, which is a violation of the Constitution’s ex post facto clause and is

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therefore, outside the statutory authority of the CSA. The prosecution is therefore barred. “The

Supreme Court has established stringent limitations on the ability of agencies to establish

retroactive regulations. In short, agencies cannot adopt such regulations unless that power is

conveyed by Congress in express terms.” United States. DeLeon, 330 F.3d 1033 (2003).

       Therefore, the Defendant implores that this Court dismiss Count I of this indictment.



                                              By /s/ Patrick J. O’Connor____________
                                              Patrick J. O’Connor
                                              Bar #78081
                                              4740 Grand Avenue, Suite 300
                                              Kansas City, MO 64112
                                              (816) 701-1100 Telephone
                                              (816) 531-2372 Facsimile

                                              ATTORNEY FOR DEFENDANT

                                CERTIFICATE OF SERVICE

  I hereby certify that a true and correct copy of the foregoing was electronically delivered on
this 07 day of August, 2015 addressed to: U.S. Attorney’s Office, Charles Evans Whittaker
Courthouse, 400 East Ninth Street, Kansas City, MO 64106.

                                                     /s/ Patrick J. O’Connor




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